     Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 1 of 28



 1   GARY M. RESTAINO
     United States Attorney
 2   District of Arizona
     JOSEPH BOZDECH
 3   California State Bar Number 303453
     Assistant United States Attorney
 4   Two Renaissance Square
     40 North Central Avenue, Suite 1800
 5   Phoenix, Arizona 85004-4408
     Telephone: (602) 514-7500
 6   Email: joseph.bozdech@usdoj.gov
     Attorneys for Plaintiff
 7

 8                          UNITED STATES DISTRICT COURT
 9                                 DISTRICT OF ARIZONA
10   United States of America,                 ║
                                               ║          CR 19-00898-PHX-DLR
11                        Plaintiff,           ║
                                               ║ Notice of Service by Mail and Publication
12                                             ║   of Amended Preliminary Order of
                                               ║           Forfeiture (Doc. 853)
13                 v.                          ║
                                               ║
14   David Allen Harbour,                      ║
                                               ║
15                        Defendant.           ║
                                               ║
16
            Pursuant to the provisions of Federal Rules of Civil Procedure Supplemental
17
     Rules for Admiralty or Maritime and Asset Forfeiture Claims (“Fed. R. Civ. P. Supp.”)
18
     G(4), Fed. R. Crim. P. 32.2(b)(6), and 21 U.S.C. § 853(n)(1), attached is Declaration of
19
     Publication affirming that Plaintiff United States of America posted a notice of forfeiture
20
     on an official government internet site (www.forfeiture.gov) for at least thirty
21
     consecutive days, beginning June 6, 2024, and ending July 5, 2024.
22
            Moreover, pursuant to Fed. R. Crim. P. 32.2(b)(6) and Fed. R. Civ. P. Supp. G(4),
23
     on June 6, 2024, a notice of forfeiture containing the amended preliminary order of
24
     forfeiture (Doc. 853) was served via United States Postal Service First-Class Mail and
25
     Certified United States Mail upon the following individual/entity:
26
               • Abby Harbour, 15527 E. Palatial Dr., Fountain Hills, AZ 85268; and
27
               • BackJoy Orthotics LLC, Attn: Tre Vertuca, Pres. & CEO, P.O. Box 11036,
28               Boulder, CO 80301.
     Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 2 of 28



 1

 2
           Additionally, on July 1, 2024, a notice of forfeiture containing the amended
 3
     preliminary order of forfeiture (Doc. 853) was served via United States Postal Service
 4
     First-Class Mail and Certified United States Mail upon the following individual/entity:
 5
               • BackJoy Orthotics, LLC, Attn: Eric Selhorn, Registered Agent, P.O. Box
 6               11036, Boulder, CO 80301.
 7         Attached are copies of all materials sent from and/or received by the United

 8   States Attorney’s Office during the course of such service. All names and addresses

 9   reflect the most up-to-date contact information on all potential claimants as identified

10   and made available to the United States Attorney’s Office by law enforcement.

11         DATED this 14th day of August, 2024.

12                                            GARY M. RESTAINO
13                                            United States Attorney
                                              District of Arizona
14
                                              S/ Joseph Bozdech
15
                                              JOSEPH BOZDECH
16                                            Assistant United States Attorney
17

18

19                                   CERTIFICATION
20
            I certify that on August 14, 2024, I electronically transmitted the attached
21   document to the Clerk's Office using the CM/ECF System for filing and transmittal
     of a Notice of Electronic Filing to the following CM/ECF registrant: counsel of
22   record.
23

24   By: S/ Ray Southwick
25

26

27

28


                                                 2
        Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 3 of 28




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ARIZONA


UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
                v.                           )         19CR00898PHXDLR
                                             )
David Allen Harbour                          )
                                             )
                      Defendant.             )



                             DECLARATION OF PUBLICATION

       In accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6)(C) of the Federal Rules

of Criminal Procedure, notice of the forfeiture was posted on an official government internet

site (www.forfeiture.gov) for at least 30 consecutive days, beginning on June 06, 2024

and ending on July 05, 2024. (See, Attachment 1).


      I declare under penalty of perjury that the foregoing is true and correct. Executed on

August 14, 2024 at Phoenix, AZ.

                                            /s/ Joseph Bozdech
                                          Joseph Bozdech
                                          AUSA
        Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 4 of 28

Attachment 1


                       UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ARIZONA
         COURT CASE NUMBER: 19CR00898PHXDLR; NOTICE OF FORFEITURE

       Notice is hereby given that on January 25, 2024, in the case of U.S. v. David Allen
Harbour, Court Case Number 19CR00898PHXDLR, the United States District Court for
the District of Arizona entered an Order condemning and forfeiting the following property to
the United States of America:

       Miscellaneous jewelry and coins Ser No: see items list (19-FBI-009336), including
       the following items: 1 Ring with pink stone, Ser No: None; 1 Chanel watch, Ser No:
       W.K.80418; 1 stud earrings, Ser No: None; 1 3 ASU championship rings, Ser No:
       None; 1 10 silver American Eagle coins in collector boxes, Ser No: None which was
       seized from David Harbour on August 05, 2019 at 8901 N. Martingale Rd, located in
       Paradise Valley, AZ

       $30,000 capital trust account with BackJoy Orthotics LLC (24-FBI-004533)

        The United States hereby gives notice of its intent to dispose of the forfeited
property in such manner as the United States Attorney General may direct. Any person,
other than the defendant(s) in this case, claiming interest in the forfeited property must file
an ancillary petition within 60 days of the first date of publication (June 06, 2024) of this
Notice on this official government internet web site, pursuant to Rule 32.2 of the Federal
Rules of Criminal Procedure and 21 U.S.C. § 853(n)(1). The ancillary petition must be
filed with the Clerk of the Court, 401 W Washington Street, Phoenix, AZ 85003, and a
copy served upon Assistant United States Attorney Joseph F. Bozdech, 40 North Central
Avenue, Suite 1800, Phoenix, AZ 85004. The ancillary petition shall be signed by the
petitioner under penalty of perjury and shall set forth the nature and extent of the
petitioner's right, title or interest in the forfeited property, the time and circumstances of the
petitioner's acquisition of the right, title and interest in the forfeited property and any
additional facts supporting the petitioner's claim and the relief sought, pursuant to 21
U.S.C. § 853(n).

        Following the Court’s disposition of all ancillary petitions filed, or if no such petitions
are filed, following the expiration of the period specified above for the filing of such
ancillary petitions, the United States shall have clear title to the property and may warrant
good title to any subsequent purchaser or transferee.

       The government may also consider granting petitions for remission or mitigation,
which pardon all or part of the property from the forfeiture. A petition must include a
description of your interest in the property supported by documentation; include any facts
you believe justify the return of the property; and be signed under oath, subject to the
penalty of perjury, or meet the requirements of an unsworn statement under penalty of
perjury. See 28 U.S.C. Section 1746. For the regulations pertaining to remission or
mitigation of the forfeiture, see 28 C.F.R. Sections 9.1 - 9.9. The criteria for remission of
        Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 5 of 28

the forfeiture are found at 28 C.F.R. Section 9.5(a). The criteria for mitigation of the
forfeiture are found at 28 C.F.R. Section 9.5(b). The petition for remission need not be
made in any particular form and may be filed online or in writing. You should file a petition
for remission not later than 11:59 PM EST 30 days after the date of final publication of this
notice. See 28 C.F.R. Section 9.3(a). The https://www.forfeiture.gov/FilingPetition.htm
website provides access to a standard petition for remission form that may be mailed and
the link to file a petition for remission online. If you cannot find the desired assets online,
you must file your petition for remission in writing by sending it to Assistant United States
Attorney Joseph F. Bozdech, 40 North Central Avenue, Suite 1800, Phoenix, AZ 85004.
This website provides answers to frequently asked questions (FAQs) about filing a petition
for remission. You may file both an ancillary petition with the court and a petition for
remission or mitigation.
         Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 6 of 28


                                  Advertisement Certification Report


The Notice of Publication was available on the www.forfeiture.gov web site for at least 18 hours per day
between June 6, 2024 and July 05, 2024. Below is a summary report that identifies the uptime for each
day within the publication period and reports the results of the web monitoring system’s daily check that
verifies that the advertisement was available each day.

U.S. v. David Allen Harbour

Court Case No:                19CR00898PHXDLR
For Asset ID(s):              See Attached Advertisement Copy

   Consecutive          Date Advertisement         Total Hours Web Site             Verification that
   Calendar Day          Appeared on the           was Available during              Advertisement
       Count                 Web Site                  Calendar Day                existed on Web Site
         1                   06/06/2024                      23.9                          Verified
         2                   06/07/2024                      24.0                          Verified
         3                   06/08/2024                      23.9                          Verified
         4                   06/09/2024                      23.9                          Verified
         5                   06/10/2024                      23.9                          Verified
         6                   06/11/2024                      23.8                          Verified
         7                   06/12/2024                      24.0                          Verified
         8                   06/13/2024                      23.9                          Verified
         9                   06/14/2024                      23.9                          Verified
        10                   06/15/2024                      23.9                          Verified
        11                   06/16/2024                      23.9                          Verified
        12                   06/17/2024                      23.9                          Verified
        13                   06/18/2024                      23.9                          Verified
        14                   06/19/2024                      23.9                          Verified
        15                   06/20/2024                      23.9                          Verified
        16                   06/21/2024                      23.9                          Verified
        17                   06/22/2024                      23.9                          Verified
        18                   06/23/2024                      23.9                          Verified
        19                   06/24/2024                      23.9                          Verified
        20                   06/25/2024                      23.9                          Verified
        21                   06/26/2024                      23.9                          Verified
        22                   06/27/2024                      23.8                          Verified
        23                   06/28/2024                      23.9                          Verified
        24                   06/29/2024                      23.9                          Verified
        25                   06/30/2024                      24.0                          Verified
        26                   07/01/2024                      23.9                          Verified
        27                   07/02/2024                      24.0                          Verified
        28                   07/03/2024                      23.9                          Verified
        29                   07/04/2024                      23.9                          Verified
        30                   07/05/2024                      23.8                          Verified
Additional log information is available and kept in the archives for 15 years after the asset has been disposed.
        Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 7 of 28

                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   District of Arizona

                                                   Two Renaissance Square                   Main: (602) 514-7500
                                                   40 N. Central Ave., Suite 1800        Main Fax: (602) 514-7693
                                                   Phoenix, AZ 85004-4408

                                                                                    Joseph.Bozdech@usdoj.gov

June 6, 2024
Sent Via Certified and First-Class U.S. Mail to:

Abby Harbour
15527 E. Palatial Dr.
Fountain Hills, AZ 85268

       Re:     United States v. David Allen Harbour
               CR-19-00898-PHX-DLR

Dear Ms. Harbour:
    Our records indicate that you or your client may have an interest in certain property
seized in the above action. This letter is to advise you that the United States has initiated
judicial proceedings to criminally forfeit that property. By receipt of this letter, you or your
client are on actual notice of these proceedings. Enclosed are copies of the Notice of
Forfeiture and Preliminary Order of Forfeiture.
    Service of this letter in no way implies that the United States believes that you have a
valid interest in any property. The procedure and deadlines for filing a claim or petition
are governed by 21 U.S.C. § 853(n)(2) and (3). Any claim or petition filed with the court
must: (1) be signed under penalty of perjury; (2) identify the property at issue; (3) describe
the nature and extent of any interest in the property; (4) detail the time and circumstances
of acquisition of the interest in the property; (5) list any additional facts and documents in
support of the claim or petition; and (6) state the specific relief sought.
   Failure to timely comply with these rules will lead to entry of an order forfeiting the
property.
                                                    Regards,

                                                    GARY M. RESTAINO
                                                    United States Attorney
                                                    District of Arizona




                                                            JOSEPH F. BOZDECH
                                                            Assistant United States Attorney
Encl.: Notice of Forfeiture
       Preliminary Order of Forfeiture
Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 8 of 28
Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 9 of 28
       Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 10 of 28

                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   District of Arizona

                                                   Two Renaissance Square                   Main: (602) 514-7500
                                                   40 N. Central Ave., Suite 1800        Main Fax: (602) 514-7693
                                                   Phoenix, AZ 85004-4408

                                                                                    Joseph.Bozdech@usdoj.gov

June 6, 2024
Sent Via Certified and First-Class U.S. Mail to:

BackJoy Orthotics, LLC
Attn: Tre Vertuca, President and COO
P.O. Box 11036
Boulder, CO 80301


       Re:     United States v. David Allen Harbour
               CR-19-00898-PHX-DLR

Dear Mr. Vertuca:
    Our records indicate that you or your client may have an interest in certain property
seized in the above action. This letter is to advise you that the United States has initiated
judicial proceedings to criminally forfeit that property. By receipt of this letter, you or your
client are on actual notice of these proceedings. Enclosed are copies of the Notice of
Forfeiture and Preliminary Order of Forfeiture.
    Service of this letter in no way implies that the United States believes that you have a
valid interest in any property. The procedure and deadlines for filing a claim or petition
are governed by 21 U.S.C. § 853(n)(2) and (3). Any claim or petition filed with the court
must: (1) be signed under penalty of perjury; (2) identify the property at issue; (3) describe
the nature and extent of any interest in the property; (4) detail the time and circumstances
of acquisition of the interest in the property; (5) list any additional facts and documents in
support of the claim or petition; and (6) state the specific relief sought.
   Failure to timely comply with these rules will lead to entry of an order forfeiting the
property.
                                                    Regards,

                                                    GARY M. RESTAINO
                                                    United States Attorney
                                                    District of Arizona




                                                            JOSEPH F. BOZDECH
                                                            Assistant United States Attorney
Encl.: Notice of Forfeiture
       Preliminary Order of Forfeiture
Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 11 of 28
Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 12 of 28
Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 13 of 28
8/14/24, 12:34 PM     Case 2:19-cr-00898-DLR Document  929- USPS
                                                 USPS.com®   Filed  08/14/24
                                                                 Tracking® Results Page 14 of 28

         ALERT: FLOODING AND SEVERE WEATHER IN THE CARIBBEAN, SOUTHEAST, MID-ATLANTIC,…



    USPS Tracking
                                             ®                                                           FAQs 




                                                                                                     Remove 
    Tracking Number:

    70210950000116782089
          Copy            Add to Informed Delivery (https://informeddelivery.usps.com/)




          Latest Update
          Your item was delivered to an individual at the address at 1:59 pm on June 13, 2024 in LONGMONT, CO
          80504.



          Get More Out of USPS Tracking:
               USPS Tracking Plus®


          Delivered
          Delivered, Left with Individual
          LONGMONT, CO 80504




                                                                                                                Feedback
          June 13, 2024, 1:59 pm


          Forwarded
          BOULDER, CO
          June 11, 2024, 12:12 pm


          Departed USPS Regional Facility
          DENVER CO DISTRIBUTION CENTER
          June 10, 2024, 8:37 am


          Arrived at USPS Regional Facility
          DENVER CO DISTRIBUTION CENTER
          June 8, 2024, 9:34 am


          Arrived at USPS Regional Facility
          PHOENIX AZ DISTRIBUTION CENTER


https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=7021 0950 0001 1678 2089                                         1/2
8/14/24, 12:34 PM     Case 2:19-cr-00898-DLR Document  929- USPS
                                                 USPS.com®   Filed  08/14/24
                                                                 Tracking® Results Page 15 of 28

          June 6, 2024, 8:08 pm


          Hide Tracking History



      What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                   
        Text & Email Updates


                                                                                                   
        USPS Tracking Plus®


                                                                                                   
        Product Information


                                                                 See Less 

    Track Another Package

      Enter tracking or barcode numbers




                                                      Need More Help?
                                   Contact USPS Tracking support for further assistance.


                                                                      FAQs




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=7021 0950 0001 1678 2089                     2/2
     Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 16 of 28



 1   GARY M. RESTAINO
     United States Attorney
 2   District of Arizona
     JOSEPH BOZDECH
 3   California State Bar Number 303453
     Assistant United States Attorney
 4   Two Renaissance Square
     40 North Central Avenue, Suite 1800
 5   Phoenix, Arizona 85004-4408
     Telephone: (602) 514-7500
 6   Email: joseph.bozdech@usdoj.gov
     Attorneys for Plaintiff
 7
                            UNITED STATES DISTRICT COURT
 8
                                   DISTRICT OF ARIZONA
 9

10   United States of America,                 ║
                                               ║ CR 19-00898-PHX-DLR
11                        Plaintiff,           ║
                                               ║ Notice of Forfeiture
12                 v.                          ║
                                               ║
13   David Allen Harbour,                      ║
                                               ║
14                        Defendant.           ║
                                               ║
15

16          Notice is given that an order was entered condemning and forfeiting to the United
17   States of America the property listed in the order. The order having been entered,
18   Plaintiff United States of America gives notice of its intention to dispose of the forfeited
19   property in such manner as the Attorney General of the United States may direct. Any
20   persons or entities having or claiming a legal right, title or interest in any of the
21   aforementioned property must, within thirty (30) days of the final publication of this
22   notice or actual receipt of this notice, whichever is earlier, petition the United States
23   District Court for the District of Arizona for a hearing to adjudicate the validity of
24   his/her alleged interest in the property pursuant to 21 U.S.C. § 853(n).
25
            If a hearing is requested, it shall be held before the Court alone without a jury.
26
     Petitioners bear the burden of proof in all such cases. Petitions that fail to allege an
27

28
     Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 17 of 28



 1   interest sufficient to maintain a claim under 21 U.S.C. § 853(n) shall be subject to
 2   dismissal without a hearing.
 3
            The petition must be signed by the petitioner under penalty of perjury and shall
 4
     identify the particular property or properties in which the petitioner claims a legal right,
 5
     title or interest; the nature and extent of the such right, title or interest in each property;
 6
     the time and circumstances of the petitioner's acquisition of the right, title and interest in
 7
     each property; and any additional facts and documents supporting the petitioner's claim
 8
     and the relief sought. See 21 U.S.C. § 853(n)(3). Corporate persons may only file claims
 9
     if represented by counsel.
10
            A hearing on the petition shall, to the extent practicable and consistent with the
11
     interests of justice, be held within thirty (30) days of the filing of the petition. The Court
12
     may consolidate the hearing on the petition with a hearing on any other petition filed by
13
     a person other than any of the defendants named above. The petitioner may testify and
14
     present evidence and witnesses on his own behalf and cross-examine witnesses who
15
     appear at the hearing.
16

17          Your petition must be filed with the United States District Court, District of

18   Arizona, at the following address:

19          •      401 West Washington Street, Phoenix, Arizona 85003.
20
            Furthermore, you must serve the United States of America with your petition at
21
     the following address:
22
            •      Assistant United States Attorney Joseph Bozdech, Two Renaissance
23
     Square, 40 North Central, Suite 1800, Phoenix, Arizona 85004-4408.
24

25          IF YOU FAIL TO FILE A PETITION TO ASSERT YOUR RIGHT, TITLE OR
26   INTEREST IN THE PROPERTY, WITHIN THIRTY (30) DAYS OF THIS NOTICE,
27   OR WITHIN THIRTY (30) DAYS OF THE LAST PUBLICATION OF THIS NOTICE,
28


                                                    2
     Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 18 of 28



 1   WHICHEVER IS EARLIER, YOUR RIGHT, TITLE AND INTEREST IN THE
 2   PROPERTY SHALL BE LOST AND FORFEITED TO THE UNITED STATES. THE
 3   UNITED STATES THEN SHALL HAVE CLEAR TITLE TO THE PROPERTY AND
 4   MAY WARRANT GOOD TITLE TO ANY SUBSEQUENT PURCHASER OR
 5   TRANSFEREE.
 6

 7        DATED this 6th day of June, 2024.
 8
                                          GARY M. RESTAINO
 9                                        United States Attorney
                                          District of Arizona
10

11                                        S/ Joseph Bozdech
                                          JOSEPH BOZDECH
12                                        Assistant United States Attorney
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                                              3
       Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 19 of 28

                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   District of Arizona

                                                   Two Renaissance Square                   Main: (602) 514-7500
                                                   40 N. Central Ave., Suite 1800        Main Fax: (602) 514-7693
                                                   Phoenix, AZ 85004-4408

                                                                                    Joseph.Bozdech@usdoj.gov

July 1, 2024
Sent Via Certified and First-Class U.S. Mail to:

BackJoy Orthotics, LLC
Attn: Eric Selhorn, Registered Agent
P.O. Box 11036
Boulder, CO 80301


       Re:     United States v. David Allen Harbour
               CR-19-00898-PHX-DLR

Dear Mr. Selhorn:
    Our records indicate that you or your client may have an interest in certain property
seized in the above action. This letter is to advise you that the United States has initiated
judicial proceedings to criminally forfeit that property. By receipt of this letter, you or your
client are on actual notice of these proceedings. Enclosed are copies of the Notice of
Forfeiture and Preliminary Order of Forfeiture.
    Service of this letter in no way implies that the United States believes that you have a
valid interest in any property. The procedure and deadlines for filing a claim or petition
are governed by 21 U.S.C. § 853(n)(2) and (3). Any claim or petition filed with the court
must: (1) be signed under penalty of perjury; (2) identify the property at issue; (3) describe
the nature and extent of any interest in the property; (4) detail the time and circumstances
of acquisition of the interest in the property; (5) list any additional facts and documents in
support of the claim or petition; and (6) state the specific relief sought.
   Failure to timely comply with these rules will lead to entry of an order forfeiting the
property.
                                                    Regards,

                                                    GARY M. RESTAINO
                                                    United States Attorney
                                                    District of Arizona




                                                            JOSEPH F. BOZDECH
                                                            Assistant United States Attorney
Encl.: Notice of Forfeiture
       Preliminary Order of Forfeiture
Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 20 of 28
8/14/24, 12:45 PM     Case 2:19-cr-00898-DLR Document  929- USPS
                                                 USPS.com®   Filed  08/14/24
                                                                 Tracking® Results Page 21 of 28

         ALERT: FLOODING AND SEVERE WEATHER IN THE CARIBBEAN, SOUTHEAST, MID-ATLANTIC,…



    USPS Tracking
                                             ®                                                            FAQs 




                                                                                                      Remove 
    Tracking Number:

    70210950000116782096
          Copy            Add to Informed Delivery (https://informeddelivery.usps.com/)




          Latest Update
          Your item was delivered to an individual at the address at 3:36 pm on July 19, 2024 in LONGMONT, CO
          80504.



          Get More Out of USPS Tracking:
               USPS Tracking Plus®


          Delivered
          Delivered, Left with Individual
          LONGMONT, CO 80504




                                                                                                                Feedback
          July 19, 2024, 3:36 pm


          Arrived at USPS Regional Facility
          DENVER CO DISTRIBUTION CENTER
          July 18, 2024, 3:12 pm


          Arrived at USPS Regional Facility
          COLORADO SPRINGS CO DISTRIBUTION CENTER
          July 15, 2024, 2:05 pm


          Departed USPS Regional Facility
          DENVER CO DISTRIBUTION CENTER
          July 3, 2024, 9:58 am


          Arrived at USPS Regional Facility
          DENVER CO DISTRIBUTION CENTER


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8/14/24, 12:45 PM     Case 2:19-cr-00898-DLR Document  929- USPS
                                                 USPS.com®   Filed  08/14/24
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          July 3, 2024, 5:13 am


          Arrived at USPS Regional Facility
          PHOENIX AZ DISTRIBUTION CENTER
          July 2, 2024, 12:44 am


          Hide Tracking History



      What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                   
        Text & Email Updates


                                                                                                   
        USPS Tracking Plus®


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        Product Information


                                                                 See Less 

    Track Another Package


      Enter tracking or barcode numbers




                                                      Need More Help?
                                   Contact USPS Tracking support for further assistance.


                                                                      FAQs




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=7021 0950 0001 1678 2096                     2/2
     Case 2:19-cr-00898-DLR Document 929 Filed 08/14/24 Page 23 of 28



 1   GARY M. RESTAINO
     United States Attorney
 2   District of Arizona
     JOSEPH BOZDECH
 3   California State Bar Number 303453
     Assistant United States Attorney
 4   Two Renaissance Square
     40 North Central Avenue, Suite 1800
 5   Phoenix, Arizona 85004-4408
     Telephone: (602) 514-7500
 6   Email: joseph.bozdech@usdoj.gov
     Attorneys for Plaintiff
 7
                            UNITED STATES DISTRICT COURT
 8
                                   DISTRICT OF ARIZONA
 9

10   United States of America,                 ║
                                               ║ CR 19-00898-PHX-DLR
11                        Plaintiff,           ║
                                               ║ Notice of Forfeiture
12                 v.                          ║
                                               ║
13   David Allen Harbour,                      ║
                                               ║
14                        Defendant.           ║
                                               ║
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16          Notice is given that an order was entered condemning and forfeiting to the United
17   States of America the property listed in the order. The order having been entered,
18   Plaintiff United States of America gives notice of its intention to dispose of the forfeited
19   property in such manner as the Attorney General of the United States may direct. Any
20   persons or entities having or claiming a legal right, title or interest in any of the
21   aforementioned property must, within thirty (30) days of the final publication of this
22   notice or actual receipt of this notice, whichever is earlier, petition the United States
23   District Court for the District of Arizona for a hearing to adjudicate the validity of
24   his/her alleged interest in the property pursuant to 21 U.S.C. § 853(n).
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            If a hearing is requested, it shall be held before the Court alone without a jury.
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     Petitioners bear the burden of proof in all such cases. Petitions that fail to allege an
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 1   interest sufficient to maintain a claim under 21 U.S.C. § 853(n) shall be subject to
 2   dismissal without a hearing.
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            The petition must be signed by the petitioner under penalty of perjury and shall
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     identify the particular property or properties in which the petitioner claims a legal right,
 5
     title or interest; the nature and extent of the such right, title or interest in each property;
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     the time and circumstances of the petitioner's acquisition of the right, title and interest in
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     each property; and any additional facts and documents supporting the petitioner's claim
 8
     and the relief sought. See 21 U.S.C. § 853(n)(3). Corporate persons may only file claims
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     if represented by counsel.
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            A hearing on the petition shall, to the extent practicable and consistent with the
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     interests of justice, be held within thirty (30) days of the filing of the petition. The Court
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     may consolidate the hearing on the petition with a hearing on any other petition filed by
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     a person other than any of the defendants named above. The petitioner may testify and
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     present evidence and witnesses on his own behalf and cross-examine witnesses who
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     appear at the hearing.
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17          Your petition must be filed with the United States District Court, District of

18   Arizona, at the following address:

19          •      401 West Washington Street, Phoenix, Arizona 85003.
20
            Furthermore, you must serve the United States of America with your petition at
21
     the following address:
22
            •      Assistant United States Attorney Joseph Bozdech, Two Renaissance
23
     Square, 40 North Central, Suite 1800, Phoenix, Arizona 85004-4408.
24

25          IF YOU FAIL TO FILE A PETITION TO ASSERT YOUR RIGHT, TITLE OR
26   INTEREST IN THE PROPERTY, WITHIN THIRTY (30) DAYS OF THIS NOTICE,
27   OR WITHIN THIRTY (30) DAYS OF THE LAST PUBLICATION OF THIS NOTICE,
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 1   WHICHEVER IS EARLIER, YOUR RIGHT, TITLE AND INTEREST IN THE
 2   PROPERTY SHALL BE LOST AND FORFEITED TO THE UNITED STATES. THE
 3   UNITED STATES THEN SHALL HAVE CLEAR TITLE TO THE PROPERTY AND
 4   MAY WARRANT GOOD TITLE TO ANY SUBSEQUENT PURCHASER OR
 5   TRANSFEREE.
 6

 7        DATED this 1st day of July, 2024.
 8
                                          GARY M. RESTAINO
 9                                        United States Attorney
                                          District of Arizona
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11                                        S/ Joseph Bozdech
                                          JOSEPH BOZDECH
12                                        Assistant United States Attorney
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 6                      IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                        No. CR-19-00898-001-PHX-DLR
10                 Plaintiff,                         ORDER
11   v.
12   David Allen Harbour,
13                 Defendant.
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16         Before the Court is the Government’s Motion to Amend Order of Forfeiture and/or

17   Order Immediate Payment of Restitution (Doc. 805). There being no response filed by
18   Defendant, and for good cause shown, the Court grants the motion and adopts the

19   Government’s proposed order. Accordingly,

20         IT IS ORDERED that the Government’s motion (Doc. 805) is GRANTED and the
21   Court’s forfeiture order (Doc. 801) is amended as follows:
22         On November 6, 2023, this Court entered its Order of forfeiture, including directly

23   forfeitable substitute property and a money judgment. (Doc. 801). Except as to the value

24   of the directly forfeited property, the money judgment remains unsatisfied. The United

25   States has now shown by a preponderance of the evidence that the following items of

26   personal property and Defendant’s $30,000 capital trust account with BackJoy Orthotics,
27   LLC, are subject to forfeiture as substitute assets in partial satisfaction of the money
28   judgment against Defendant:
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 1                 1.      Cartier Pasha Seatimer Chronograph Watch with Serial Number
 2          604011MX and Black Rubber Bracelet;
 3                 2.      18 Karat White Gold Diamond Cuff Bracelet;
 4                 3.      Stud Earrings;
 5                 4.      10 Silver Dollars in American Eagle Collector Boxes;
 6                 5.      Three ASU Championship Rings;
 7                 6.      Chanel Watch with Serial Number W.K.80418;
 8                 7.      Ring with Pink Stone; and
 9                 8.      Stainless Navitimer Gents Breitling Watch with Serial Number
10          422425 and Polished Navitimer Heritage Bracelet (collectively, the “Subject
11          Property”).
12          The Court has determined that the Subject Property is subject to forfeiture as
13   substitute assets pursuant to 18 U.S.C. § 981, 982, 21 U.S.C. § 853(p), and/or 28 U.S.C. §
14   2461(c). The Government has established that one or more of the conditions in 21 U.S.C.
15   853(p)(1) have been met, and that the Subject Property qualifies for forfeiture under 21
16   U.S.C. 853(p)(2). The Court finds that the defendant has forfeited all right, title and interest
17   defendant may have in the Subject Property.
18          Upon the entry of this Order, the United States is authorized to seize the Subject
19   Property and to conduct any discovery to identify, locate or dispose property that is subject
20   to forfeiture, in accordance with Fed. R. Crim. P. 32.2(b)(3).
21          Upon entry of this Order, the United States is authorized to commence any
22   applicable proceeding to comply with statutes governing third party rights, including
23   giving notice of this Order.
24          Any person asserting a legal interest in the Subject Property must, within thirty days
25   of the final publication of notice or receipt of notice, whichever is earlier, petition the court
26   for a hearing without a jury to adjudicate the validity of any alleged interest in the property,
27   and for an amendment of the order of forfeiture, pursuant to 21 U.S.C. § 853(n).
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 1          Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Order of Forfeiture shall become final
 2   as to the defendant at the defendant’s sentencing and shall be included in the sentence and
 3   judgment. If no third-party files a timely claim, this Order shall become the Final Order of
 4   Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).
 5          Any petition filed by a third party asserting an interest in the Subject Property shall
 6   be signed by the petitioner under penalty of perjury and shall set forth the nature and extent
 7   of the petitioner's right, title, or interest in the Subject Property, the time and circumstances
 8   of the petitioner's acquisition of the right, title or interest in the Subject Property, and any
 9   additional facts supporting the petitioner's claim and the relief sought, and the petitioner
10   shall serve a copy upon JOSEPH F. BOZDECH, Assistant United States Attorney.
11          After the disposition of any motion filed pursuant to Fed. R. Crim. P. 32.2(c)(1)(A)
12   and before a hearing on the petition, discovery may be conducted in accordance with the
13   Federal Rules of Civil Procedure upon a showing that such discovery is necessary or
14   desirable to resolve factual issues.
15          The United States shall have clear title to the Subject Property following the Court's
16   disposition of all third-party interests, or, if none, following the expiration of the period
17   provided in 21 U.S.C. § 853(n)(2), for the filing of third-party petitions.
18          The Court shall retain jurisdiction to enforce this Order, and to amend it as
19   necessary, pursuant to Fed. R. Crim. P. 32.2(e).
20          Dated this 25th day of January, 2024.
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                                                     Douglas L. Rayes
25                                                   United States District Judge
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